Case 1:20-cv-00484-LO-TCB Document 310-2 Filed 08/18/21 Page 1 of 20 PageID# 11034




                                EXHIBIT 2
Case 1:20-cv-00484-LO-TCB Document 310-2 Filed 08/18/21 Page 2 of 20 PageID# 11035




                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF VIRGINIA
                                     ALEXANDRIA DIVISION


   AMAZON.COM, INC. and AMAZON
   DATA SERVICES, INC.,

                   Plaintiffs,

          v.
                                                                  CASE NO. 1:20-CV-484
   WDC HOLDINGS LLC dba NORTHSTAR
   COMMERCIAL PARTNERS; BRIAN
   WATSON; STERLING NCP FF, LLC;
   MANASSAS NCP FF, LLC; NSIPI
   ADMINISTRATIVE MANAGER; NOVA
   WPC LLC; WHITE PEAKS CAPITAL LLC;
   VILLANOVA TRUST; JOHN DOES 1-20,

                   Defendants.


   DEFENDANTS’ SECOND SUPPLEMENTAL ANSWERS TO PLAINTIFFS’ FIRST SET
                         OF INTERROGATORIES

           Pursuant to Rule 33 of the Federal Rules of Civil Procedure, all applicable Local Rules, and

   in accordance with the Court’s orders on July 17, 2020, July 22, 2020, November 13, 2020, and

   July 9, 2021, Defendants WDC Holdings LLC d/b/a Northstar Commercial Partners (“Northstar”)

   and Brian Watson (“Mr. Watson”)(collectively, “Defendants”), by through their undersigned

   counsel, serve their answers to Plaintiffs Amazon.com, Inc.’s and Amazon Data Services, Inc.’s

   (collectively, “Plaintiffs”) Interrogatories.

           Defendants hereby incorporate the objections previously served concerning Plaintiffs’ First

   Set of Interrogatories to Defendants WDC Holdings LLC and Brian Watson (“Objections”) as if

   fully set forth herein.




                                                    1
Case 1:20-cv-00484-LO-TCB Document 310-2 Filed 08/18/21 Page 3 of 20 PageID# 11036




                DEFENDANTS’ OBJECTIONS AND ANSWERS TO PLAINTIFFS’
                                INTERROGATORIES

   INTERROGATORY NO. 2

          Describe in detail each transfer or other disposition of any assets or financial interests of

   any kind within YOUR possession, custody, or control that had an amount or estimate value of

   $10,000 or more and occurred from April 2, 2020 through the present, including the amount,

   estimated amount or value, details of and reasons for the transfer or disposition, as well as the

   current or last known location of the asset(s) or interest(s).

          SECOND SUPPLEMENTAL ANSWER:

           Subject to and without waiving their privilege objections, Defendants state that in addition
   to their previous answers to this Interrogatory, Defendants answer as follows regarding the sales
   of any assets since April of 2020:

          Please see Exhibit A attached hereto.

   INTERROGATORY NO. 3

          Describe in detail the amount(s) and all factual and legal bases for all fees or other financial

   benefits of any kind that YOU have received or contend YOU are entitled to receive in connection

   with LEASED TRANSACTIONS, the WHITE PEAKS PURCHASE, or any other transaction

   with PLAINTIFFS or their agents, including but not limited to:

          (a)     the individual amounts and aggregate total of all fees, remuneration, payments, or

                  financial interests of any type that YOU have received to date, directly or indirectly,

                  from PLAINTIFFS or any other PERSON or source; and

          (b)     the amounts and factual bases for YOUR claims to any additional or future

                  payments or financial benefits of any kind, including YOUR demand for

                  $3,681,931 YOU claim was payable to YOU on March 31, 2020, YOUR demand

                  for an additional $9.4 million in fees on the LEASED TRANSACTIONS, and


                                                      2
Case 1:20-cv-00484-LO-TCB Document 310-2 Filed 08/18/21 Page 4 of 20 PageID# 11037




                  YOUR demand for GP Promote or other financial interests you value at no less than

                  $53 million.

   YOUR response to this Interrogatory should describe in detail the bases for YOUR contention that

   there was no breach or other cause event that justified YOUR April 2, 2020 termination from the

   LEASE TRANSACTION contracts and developments.

           ANSWER: Subject to and without waiving their privilege objections, Defendants state
   Northstar and Northstar Commercial Partners Management, LLC received approximately
   $14,609,925 in relation to the Lease Transactions. These funds were paid to Northstar and
   Northstar Commercial Partners Management, LLC pursuant to the various contracts governing
   their relationship and joint venture with IPI Partners, LLC, and the joint venture’s Lease
   Transaction contracts with Plaintiffs, and upon information and belief, were indirectly received
   from Plaintiffs. Northstar and Northstar Commercial Partners Management, LLC were entitled to
   receive these funds because these contracts were negotiated at an arm’s length and Northstar and
   Northstar Commercial Partners, LLC fully performed pursuant to the contracts up until their
   wrongful termination from these contracts on or around April 2, 2020. A portion of the
   $14,609,925 received by Northstar and Northstar Commercial Partners Management, LLC was
   distributed to Brian Watson either pursuant to contract or during the normal course of business.
   The remaining funds were used to pay operational expenses, used as working capital/investment
   funds, distributed to employees pursuant to contract, or were generally used to pay bills on behalf
   of Northstar and Northstar Commercial Partners Management, LLC.

           Defendants state that they and/ or their affiliates complied with their contractual obligations
   related to the Amazon transactions. Northstar’s claims for additional payments and/or financial
   benefits related to the Leased Transactions arise out of its rights under the Development
   Agreements, Property Management Agreements and the NSIPI Data Center Venture, LLC
   Operating Agreement. There has been no Cause Event to permit the termination of Northstar’s
   (through its affiliate NSIPI Administrative Manager, LLC) interest. The Cause Event relied upon
   by IPI to terminate Northstar’s interest required an act or omission arising from the gross
   negligence, willful misconduct or fraud by Mr. Watson which results in material damages to NSIPI
   Data Center Venture, LLC or any entity formed and owned (in whole or in part) by NSIPI Data
   Center Venture, LLC that owns an investment of NSIPI Data Center Ventures, LLC. Mr. Watson
   did not engage in any conduct that constitutes gross negligence, willful misconduct or fraud and
   NSIPI Data Center Ventures, LLC has suffered no material damages as a result of any conduct of
   Mr. Watson. To the contrary, prior to their wrongful termination, Mr. Watson and Northstar drove
   value to NSIPI Data Center Ventures, LLC.

          Defendants further state that, consistent with certain documents within Plaintiffs’
   possession, they had no involvement with the White Peaks Purchase. Defendants did not learn of
   the White Peaks Purchase until approximately August 2019, when Northstar’s manager, Brian
   Watson, was alerted of a press release concerning the transaction from an employee at Northstar.

                                                     3
Case 1:20-cv-00484-LO-TCB Document 310-2 Filed 08/18/21 Page 5 of 20 PageID# 11038




   At that time, Defendants investigated the transaction and learned that two other employees of
   Northstar, Kyle Ramstetter and Will Camenson, potentially usurped a Northstar business
   opportunity. Mr. Watson, as Northstar’s manager, made demands against Mr. Ramstetter and Mr.
   Camenson, and counsel for the parties exchanged drafts of possible legal actions. With the
   assistance of their respective legal counsel and a mediation before the Hon. Nancy Rice with the
   Judicial Arbiter Group, the parties settled the matter. Pursuant to the settlement agreement, Mr.
   Ramstetter and Mr. Camenson paid $5,000,000 to settle the claims between the parties concerning
   the White Peaks Purchase.

          INTERROGATORY NO. 5

          State whether YOU ever had knowledge or reason to believe that any of Carleton Nelson,

   Casey Kirschner, or any other PERSON employed or affiliated with PLAINTIFFS did or would

   receive, at any time whether or not during their tenure with PLAINTIFFS and either directly or

   through Villanova Trust, White Peaks Capital LLC, NOVA WPC LLC, or any other PERSON, a

   “share” of YOUR fees or other compensation, remuneration, or any financial benefit of any kind

   RELATING TO YOUR involvement in the LEASED TRANSACTIONS, the WHITE PEAKS

   PURCHASE, or any other real estate sale, lease, development, contract, or other business

   opportunity involving PLAINTIFFS.

            ANSWER: Subject to and without waiving Defendants’ privilege objections, Defendants
   state they had no knowledge of or involvement in the White Peaks Purchase until after it was
   surreptitiously completed by Kyle Ramstetter and Will Camenson and therefore received no fees
   and/or profits related thereto apart from the $5,000,000 settlement payment Northstar received
   from White Peaks, LLC, Kyle Ramstetter, and Will Camenson. Defendants have no knowledge of
   Carleton Nelson, Casey Kirschner, or any other persons employed or affiliated with Plaintiffs
   receiving or potentially receiving any portion of the $5,000,000 settlement payment, which was
   made in response to Northstar’s threatened lawsuit for ‘theft of corporate opportunity’ from
   Northstar, and was paid following a mediation with former Colorado Supreme Court Chief Justice
   Nancy Rice. Northstar likewise has no knowledge of any other fees received by others pursuant to
   the White Peaks Purchase transaction that may have been made to anyone affiliated with Plaintiffs.
   With regard to fees Northstar earned pursuant to the Lease Transactions, Defendants did not know
   or have reason to believe that Carleton Nelson, Casey Kirschner, or any persons employed or
   affiliated with Plaintiffs at the time of consummation of each lease transaction, would or did
   receive a “share” of Defendants’ earned fees, apart from Plaintiffs’ allegations into which
   Defendants have received no discovery and therefore remain unsubstantiated.




                                                   4
Case 1:20-cv-00484-LO-TCB Document 310-2 Filed 08/18/21 Page 6 of 20 PageID# 11039




          INTERROGATORY NO. 6

          IDENTIFY and describe in detail, including by name and location, all investors of any kind

   who have or had interests RELATING TO YOUR investments, contracts, or involvement of any

   kind in or concerning the LEASE TRANSACTIONS, the WHITE PEAKS PURCHASE, or any

   other real estate sale, lease, development, contract, or other business opportunity involving

   PLAINTIFFS. YOUR response to this Interrogatory should include detailed descriptions of all

   investors in Sterling NCP FF, LLC, Manassas NCP FF, LLC, NSIPI Administrative Manager, and

   all the investors YOU contend are “involved in [YOUR] real estate ventures” and rendered YOU

   “unable to pledge those assets” in any form as judgment security in this ACTION, (Dkt. 82 at 7).

          ANSWER: Northstar supplements its prior response as follows to include the last known
   address for each of the following:
              IPI Partners, LLC, 300 N. LaSalle Street, Suite 1875, Chicago, IL 60654

              Sterling NCP FF, LLC investors:
              o FBO Lisa Johnson IRA Acct 1166067, 1070 W. Century Drive, Suite 101,
                  Louisville, CO 80027
              o Richard Hinds, 2926 P. Street, Washington, DC 20007
              o RANI Properties LLC, 29170 Marcello Way, Naples, FL 34110
              o Allister Mark Boustred & Sarah Jane Boustred, 37085 Soaring Eagle Court,
                  Windsor, CO 80550
              o Coventry Family Trust dated July 25, 2017, 6119 W. 157th Street, Overland Park,
                  KS 66223
              o Jon Gorski, 8330 Alpineview Way, Colorado Springs, CO 80919
              o Cleveland Family Irrevocable Trust, 4655 Pleasant Ridge Road, Boulder, CO
                  80301
              o LCR Ventures LLC, 3250 Country Club Pkwy, Castle Pines, CO 80108
              o Thomas D. Madison, 8719 Mt. Vernon Hwy, Alexandria, VA 22309
              o Leland Ross, LLC, 891 14th Street, #3504, Denver, CO 80202
              o Gregory R. Gray, 3381 Canopy, Dewitt, MI 48820
              o Aaron Lesher, 2205 Sawgrass Village Drive, Point Vedra Beach, FL 32082
              o Camenson Investments LLC, 832 Gregory Road, Fort Collins, CO 80524
              o K2 Investments, LLC, 17 Regency Court, Scottsbluff, NE 69631
              o Jasen H Takei Revocable Living Trust Mr Jasen Hajime Takei TTEE, 1080 S.
                  Beretania Street, Apt 803, Honolulu, HI 96814
              o The Uta-Heide Hungerford Revocable Trust, 13304 Beaver Dam Road,
                  Cockeysville, MD 21030
              o Daniel O'Dea, 106 Palazza Alto, Austin, TX 78734

                                                  5
Case 1:20-cv-00484-LO-TCB Document 310-2 Filed 08/18/21 Page 7 of 20 PageID# 11040




           o   David J. Keller, 3873 Bellaire Circle, Fort Worth, TX 76109
           o   James P. Sandoz Jr., 9103 Alta Drive, Unit 205, Las Vegas, NV 89145
           o   Herb and Kathleen Steffe, 7250 Brighton Place, Castle Pines, CO 80108
           o   Pleasant Ridge, LLC, 4655 Pleasant Ridge Road, Boulder, CO 80301
           o   CT Capital Investment LLC, 2337 E. Bonanza Road, Las Vegas, NV 89101
           o   JJH Global Realty II, LLC, 1401 W. Stanford Avenue, Englewood, CO 80110
           o   FBO: Curt Charlton IRA 201526543, P.O. Box 23149, Waco, TX 76702
           o   Mark L. Hanson and Sarah M. Hanson, 6703 Maple Court, Middleton, WI
               53562
           o   The Mark Evan Casey Living Trust, 3601 Arapahoe Avenue, Suite 303, Boulder,
               CO 80303
           o   Firstenburg Family Trust - Fund B, 14220 NW 31st Court, Washington, DC,
               98685-1278
           o   Trotter Family Trust dated May 10, 2013, 2744 Greensborough Drive,
               Highlands Ranch, CO 80129
           o   Herman Mallinoff Trust, 2400 E. Cherry Creek S. Drive, Unit 208, Denver, CO
               80209
           o   Three Pines Investments LLC, 519 E. 2600 N, Provo, UT 84604
           o   Bruce and Wendy Deboskey, 717 Newport Street, Denver, CO 80220
           o   Soum Inc, 2884 E. Comstock Drive, Gilbert, AZ 85296
           o   Robert & Laura Hill Revocable Trust, 700 N. High Street, Denver, CO 80218
           o   JVCM Real Estate, Sports & Wines, LLC, 820 S. Monaco Parkway #325,
               Denver CO 80224
           o   DB Family Investments, LLC, 4020 Pinon Drive, Boulder, CO 80303
           o   Charbel Nemer, 2513 Ginger Wren Road, Cleveland OH 44124-4565
           o   Michael H Garrett, 3204 NE 87th Avenue, Vancouver, WA 98662-6833
           o   Greenlee Capital Partners, LLP, 2060 Broadway #400, Boulder, CO 80302
           o   BW Investments, LLC, c/o Brownstein Hyatt Farber Schreck, LLP, 410 17th
               Street, Suite 2200, Denver, CO 80202

           Manassas NCP FF, LLC - please refer to documents produced pursuant to Plaintiffs’
           Requests for Production for the location of the below investors:
           o Daniel O’Dea, 106 Palazza Alto, Austin, TX 78734
           o Ted Dekker, 626 Firefox Drive, Brentwood, TN 37027

           Gateway Retail Investment, LLC
           o KPK 1971 Revocable Trust, 13221 Wild Basin Way, Broomfield, CO 80020
           o Leland Ross, LLC, 1550 N. Downing Street, Denver CO 80218
           o FBO Gregory Gray IRA #7230003510, 555 12th Street, Suite 1250, Oakland,
              CA 94607
           o Gregory Gray, 3381 Canopy Drive, DeWitt, MI 48820
           o John Palmer, 4750 E. Bellwview Ave., Greenwood Village, CO 80121
           o Daniel E. Brown, 8775 Ustick Road, Boise, ID 83704
           o Alan C. Abrams, 807 Kalli Creek Lane, St. Augustine, FL 33080
           o Robert Ryan Chapman, 2090 Old Airport Road, Nunnelly, TN 37137
           o Christopher Weesner, 10321 Cherokee Lane, Leawood, KS 66206

                                             6
Case 1:20-cv-00484-LO-TCB Document 310-2 Filed 08/18/21 Page 8 of 20 PageID# 11041




           o   Keller Ventures GP, LLC, 2045 Tabor Drive, Lakewood, CO 80215
           o   David J. Keller, 3873 Bellaire Circle, Fort Worth, TX 76109
           o   Trevgo, LLC, 19 South Lane, Englewood, CO 80113
           o   FBO Carol Smith IRA #201733959, P.O. Box 849, Austin, TX 78767
           o   FBO Lori Hagenesen IRA #201735718, P.O. Box 849, Austin, TX 78767
           o   Firstenberg Family Trust Fund A U/ADTD 9/20/04, 14220 NW 31st Court,
               Vancouver, WA 98685-1278
           o   Alsoph Investments LLC, 550 Richwoods Drive, Flower Munt, TX 75028
           o   FBO: Curt Charlton IRA 201526543, P.O. Box 849, Austin, TX 78767
           o   FBO Amy Charlton IRA, P.O. Box 849, Austin, TX 78767
           o   JM Capital VII LLC, 100 S. University Blvd #9, Denver, CO 80209
           o   Tony Albrecht, 6941 W. 175th Avenue, Eden Prairie, MN 55346
           o   Tierra Firma Holdings LLC, 2411 Terwilleger Blvd., Tulsa, OK 74114
           o   Cristiano Realty 401k Trust, 2701 Whiffletree Road, Charlotte, NC 28210
           o   Jonathan Salem, 5408 Huisache Street, Houston, TX 77081
           o   JJH Global Realty II, LLC, 1401 W. Stanford Avenue, Englewood, CO 80110
           o   FBO Karl Miller IRA 201526619, P.O. Box 849, Austin, TX 78767
           o   Rob Jacobs, 5408 Huisache Street, Houston, TX 77081
           o   Herb Steffe, 7250 Brighton Place, Castle Pines, CO 80108

           Stapleton Senior Living, LLC
           o David Scott Gibler, 5014 S. Perry Park Road, Unit A, Sedalia, CO 80135
           o Jeanne Johnson Cleveland Trust, 4655 Pleasant Ridge Road, Boulder, CO
              80301
           o Timothy Brown, P.O. Box 4281, Jackson, WY 83001
           o Bridge Minerals, LLC, 21 La Questa Drive, Durango, CO 81301
           o Mark Radlauer, 16767 Foxwood Lane, Morrison< CO 80465
           o ESR Investments LLC, 1221 S. Logan Street, Denver, CO 80210
           o Keith Galante, 1400 S. St. Paul Street, Denver, CO 80210
           o Narrow Path, LLC, 7750 Saxeborough Drive, Castle Rock, CO 80108
           o Saddle Mountain Capital, LLC, PO Box 700, Casper, WY 82414
           o Urgitus Family Limited Partnership, 9510 Vista Hill Lane, Lone Tree, CO
              80124
           o Williams Family Investment Co. LLC, 1 Haystack Row, Cherry Hills Village,
              CO 80113
           o PENSCO Trust Co. FBO James Kosmiski, Acct # 050060094216, PO Box
              173859, Denver, CO 80217
           o Kosmiski Family Partnership LLLP, 13854 Ashgrove Circle, Parker, CO
              80134
           o Middle Fork Investments, LLC, 6660 E. Floyd Avenue, Denver, CO 80224
           o Eben T. Walker Revocable Trust, 36 Wesskrum Wood Road, Riverside, CT
              06787
           o LCR Ventures, LLC, 3250 Country Club Pkwy, Castle Rock, CO 80108
           o Thomas D. Madison, 8719 Mt. Vernon Hwy, Alexandria, VA 77309
           o Gary J. Miller, 125 Churchill Way, Manalapan, FL 33462
           o Melanie Prichard, 10255 Dover Street #619, Westminster, CO 80021

                                            7
Case 1:20-cv-00484-LO-TCB Document 310-2 Filed 08/18/21 Page 9 of 20 PageID# 11042




           o   Tyler D. Houston, 1135 Vineyard Way, Billings, MT 59106
           o   BSP Holdings 1, 1868 South 500 West, Woods Cross, UT 84087
           o   Diane M. Greenlee Legacy Trust, 1600 Broadway, Denver, CO 80202
           o   Dell Van Gilder Jr., 1991 E. Alameda Ave., House #11, Denver, CO 80209
           o   Richard J. Pederson, 180 Valley Lane, Boulder, CO 80302
           o   Silver Saddle, LLC, 1445 Onyx Circle, Longmont, CO 80504
           o   The Gary T. Brunson Living Trust, 2626 Creekside Court, Broomfield, CO
               80023
           o   Needle Mountain Capital LLC, PO Box 700, Casper, WY 82414
           o   Robert A. Paulsen, 5402 South Fulton Court, Greenwood Village, CO 80111
           o   Kiera L Zink Revocable Trust, 5705 Blue Sage Drive, Littleton, CO 80123
           o   Theresa M. Klimiuk, 1713 Inverness Dr., Lawrence, KS 66047
           o   Grumpys Schooner LLC, 1575 Blue Sage Court, Boulder, CO 80305
           o   Lee J Zink Revocable Trust, 5705 Blue Sage Drive, Littleton, CO 80123
           o   Michael A. Cantwell , 1750 Wewatta, #720, Denver, CO 80202
           o   Balfour Senior Living VII, LLC, 1131 E. Hecla Drive, Louisville, CO 80027
           o   JM Capital VII, LLC, 100 S. University #9, Denver, CO 80209
           o   PLW Capital I, LLC, 40 W. Littleton Blvd., Suite 210-133, Littleton, CO 80120
           o   Alan C. Abrams, 807 Kalli Creek Lane, St. Augustine, FL 33080
           o   Tribune Maximus Fund I LP, 7 NE 6th Street, Suite 030, Oklahoma City, OK
               73104
           o   Tribune Maximus Stapleton, 7 NE 6th Street, Suite 030, Oklahoma City, OK
               73104
           o   Abalon Energy LLC, 555 Rivergate Lane, Suite B4-180, Durango, CO 81301
           o   John Weller, 1000 Speer Blvd., #1626, Denver, CO 80201

           Dabling Investment, LLC
           o PLW Capital, LLC, 40 W. Littleton Blvd., Suite 210-133, Littleton, CO 80120
           o JM Capital, LLC, 100 S. University #9, Denver, CO 80209

           9200 E Mineral, LLC
           o Charles H. Geny – 7347 Charlotte Pike, Mashville, TN 37209
           o Daniel J & Julie K Feiten JTWROS, 2127 S. Fillmore Street, Denver, CO 80210
           o Edwin F. DeMoss Jr., 735 Greeley Drive, Nashville, TN 37205
           o Freyer Investments, LLC, 3033 E. 1st Avenue #600, Denver, CO 80206
           o Hiram A. Cox, 4019 Wallace Lane, Nashville, TN 37215
           o Four Cousins LLLP, 13854 Ashgrove Circle, Parker, CO 80134
           o JM Capital VII, LLC, 100 S. University Blvd, #9, Denver, CO 80209
           o John T. Johnson, Jr., 1070 Visco Drive, Nashville, TN 37210
           o Keith G. Wolken, 204 Robin Hill Road, Nashville, TN 37205
           o PLW Mineral LLC, 40 W. Littleton Blvd., Suite 210-133, Littleton, CO 80120
           o FBO Warren N. Eckloff Seg R/O IRA 2, Attn: Alt Investments – P09, 60 South
              Sixth Street, Minneapolis, MN 55402-4400

           800 Hoyt, LLC
           o Timothy T Brown, PO Box 4381, Jackson, WY 83001

                                              8
Case 1:20-cv-00484-LO-TCB Document 310-2 Filed 08/18/21 Page 10 of 20 PageID# 11043




            o   James Kosmiski, 13854 Ashgrove Circle, Parker, CO 80134
            o   BW Holdings, LLC, 40 W. Littleton Blvd., Suite 210-133, Littleton, CO 80120
            o   JM Capital II, LLC, 100 S. University Blvd, #9, Denver, CO 80209
            o   Urgitus Family Limited Partnership, 9510 Vista Hill Lane, Lone Tree, CO 80124
            o   Jeanne Johnson Cleveland Trust, 4655 Pleasant Ridge Road, Boulder, CO 80301
            o   James Calano, 200 Boulder View Lane, Boulder, CO 80304
            o   Attila Safari, 35 Bellevue Drive, Boulder, CO 80302
            o   Alan Abrams, 807 Kalli Creek Lane, St. Augustine, FL 33080
            o   CFRO Timothy Keegan IRA556191, PO Box 7080, San Carlos, CA 94070
            o   Leland Ross, LLC, 1550 N. Downing Street, Denver, CO 80218
            o   Greenlee Capital Partners LLLP, 1120 W. South Boulder Road, Suite 101K,
                Lafayette, CO 80026
            o   Tribune Maximus Fund I LP, 7 NE 6th Street, Suite 030, Oklahoma City, OK
                73104
            o   Tribune Maximus Hoyt LLC, 7 NE 6th Street, Suite 030, Oklahoma City, OK
                73104
            o   John Palmer, 4750 E. Belleview, Greenwood Village, CO 80121
            o   Alex M. Cranberg, 1775 Sherman Street, Denver, CO 80203
            o   Remodel Naples Defined Benefit Plan, 346 Edgemere Way North, Naples, FL
                34105
            o   Remodel Naples 401K Plan, 346 Edgemere Way North, Naples, FL 34105
            o   Daniel Grahl & Veronica Fawcett Grahl, 346 Edgemere Way North, Naples, FL
                34105
            o   Vantage Retirement Plans, LLC, 28060 N. Tatum Blvd., Suite 240, Phoenix, AZ
                85050
            o   Aaron Lesher, 2205 Sawgrass Village Dr., Ponte Vedra Beach, FL 32082
            o   KMJR LLC, 22652 Esplanada Cir. W., Boca Raton, FL 33433
            o   Richard Peter Jacobson & Marie Noel Hamel Revocable Trust, 17 Chaudhary
                Ct., Napa, CA 94558
            o   Lisa Rezac, 10917 Walling Circle, Omaha, NE 68144
            o   John A Becker, 9102 E. Tufts Ave., Greenwood Village, CO 80111
            o   Brian V. Krol and Susan C. Frasch, 8096 E. 53rd Drive, Denver, CO 80238
            o   Alsoph Investments LLC, 550 Richwoods Drive, Flower Mound, TX 75028
            o   Fei Chen, 2620 Camille Drive, Lewisville, TX 75056
            o   Michael Flamm, 160 East 8th Street, Apt 17C, New York, NY 10028
            o   Gerard Goetz, 136 E 56 Street, Apt 12D, New York, NY 10022
            o   Vernon Chalfant, 763 Tyler Drive, Sarasota, FL 34236
            o   Christopher Weesner, 10321 Cherokee Lane, Leawood, KS 66206
            o   Mahesh and Lalitha Pabba, 6777 Sigma Lane, Frisco, TX 75035
            o   Vidyahar and Kaylani Nettimi, 2941 Gray Street, Oakton, VA 22124
            o   Jasen Takei, 1080 S. Beretania Street, Apt 803, Honolulu, HI 96814
            o   Vivek Ruparel, 4949 Oakdale Road, Apt. 427, Smyrna, GA 30080
            o   Scott and Susan Maltz Trust dated 7/1/96, 549 Lakeshore Blvd., Unit 5, Incline
                Village, NV 89451
            o   Scott Hwang, 8995 Telluride Cv., Germantown, TN 38138



                                               9
Case 1:20-cv-00484-LO-TCB Document 310-2 Filed 08/18/21 Page 11 of 20 PageID# 11044




            o The Uta-Heide Hungerford Revocable Trust, 133004 Beaver Dam Road,
              Cockeysville, MD 21030
            o County Associates LLC, PO Box 11443, Norfolk, VA 23517
            o Christopher Hibbert, 1195 Andre Ave., Mountain View, CA 94040
            o Bruce L. Maltz Family Trust, 1512 Floribunda Avenue, Apt. 402, Burlingame,
              CA 94010
            o Kalyana Sura, 1983 Pelican Court, Troy, MI 48084
            o Michael Golden, 9155 E. Smoke Rise Drive, Tucson, AZ 85715
            o William Golden, 9155 E. Smoke Rise Drive, Tucson, AZ 85715
            o AMDG Ventures 401k Profit Sharing Plan, 1320-B South Main Street, #240,
              Salinas, CA 93901
            o Kevin Herimida, 184 Tinker Street, Woodstock, NY 12498
            o Bing Lu, 7 Parkman Street, Unit 2, Brookline, MA 02446
            o Schoko Investments, LLC, 4330 E. Perry Parkway, Greenwood Village, CO
              80121
            o Brad Lyons, 1052 Country Club Estates Drive, Castle Rock, CO 80108
            o Nuno Miguel Chaves & Fabiana Pereira Coimbra de Sousa, 18801 N Bee Cave
              Springs Cave Cir., Cypress, TX 77433
            o Daniel O’Dea, 106 Palazza Alto, Austin, TX 78734
            o Johan Huwaert, 5686 High Toll Trail, Morrison, CO 80465
            o Lisa Kosmiski, 13854 Ashgrove Circle, Parker, CO 80134

            Wadsworth Development, LLC
            o Crinda Williams, 9257 Plateview Road, Papillion, NE 68046
            o Thomas K. Lane 2011 Revocable Trust, 40 Beechwood Road, Summit, NJ 07901
            o Pleasant Ridge, LLC, 4655 Pleasant Ridge Road, Boulder, CO 80301
            o Keith Wolken, 7135 Charlotte Pike, Nashville, TN 37205
            o Uta-Heide Hungerford Revocable Trust, 13304               Beaver Dam Road,
              Cockeysville, MD 21030
            o Jon S. Gorski, 8331 Alpineview Way, Colorado Springs, CO 80919
            o Remodel Naples Defined Benefit Plan, 346 Edgemere Way N., Naples, FL 34105
            o Remodel Naples 401k Plan, 346 Edgemere Way N., Naples, FL 34105
            o Daniel Grahl, 346 Edgemere Way N., Naples, FL 34105
            o Vantage FBO: Timothy Mark Skilton #17145, 20860 N. Tatum Blvd., Suite 240,
              Phoenix, AZ 85050
            o Aaron Lesher, 2205 Sawgrass Village Dr., Ponte Vedra Beach, FL 32082
            o David J. Keller, 3873 Bellaire Cir., Fort Worth, TX 76109
            o Christopher Wolfe, 4215 Don Diablo Drive, Los Angeles, CA 90008
            o Christopher K Shaw, 22006 Glen Arden Lane, Katy, TX 77450
            o Alan C. Abrams, 758 Xenophon Street, Lakewood, CO 80401
            o Dan Camenson, 832 Gregory Road, Fort Collins, CO 80524
            o Rich Garigen, 13921 W. 85th Drive, Arvada, CO 80005
            o Richard Peter Jacobson & Marie Noel Jacynthe Hamel Revocable Trust, 17
              Chaudhary Ct, Napa, CA 94558
            o Mark I Richardson, 2052 Granger Way, Lummi Island, WA 98262



                                            10
Case 1:20-cv-00484-LO-TCB Document 310-2 Filed 08/18/21 Page 12 of 20 PageID# 11045




            o Brian Watson , c/o Brownstein Hyatt Farber Schreck, LLP, 410 17th Street, Suite
              2200, Denver, CO 80202
            o PLW Capital LLC, 40 W. Littleton Blvd., Suite 210-133, Littleton, CO 80120
            o David Scott Gibler, 5014 Perry Park Road, Unit A, Sedalia, CO 80135
            o Herb Steffe, 7250 Brighton Place, Castle Pines, CO 80108
            o RBM Wadsworth Holdings, LLC, PO Box 50277, Idaho Falls, ID 83405
            o Keller Ventures GP, LLC, 2045 Tabor Drive, Lakewood, CO 80215
            o Kevin & Julie Davidson, 243 Rainbow Dr. #14355, Livingston, TX 77399
            o Alsoph Investments LLC, 550 Richwoods Drive, Flower Mound, TX 75028
            o Westfall LLLP, 7964 Kelty Trail, Franktown, CO 80116

            10180 E. Colfax, LLC
            o PENSCO Trust Co. FBO James Kosmiski, Acct# 050060094216, PO Box
               173859, Denver, CO 80217
            o PLW Capital I, LLC, 40 W. Littleton Blvd., Suite 210-133, Littleton, CO 80120
            o Robert C. Montgomery, 9081 East Wesley Drive, Denver, CO 80231
            o Jon S Gorski, 8330 Alpinview Way, Colorado Springs, CO 80919
            o John Southern, 19427 E. Fair Place, Aurora, CO 80016
            o Four Cousins, LLLP, 13854 Ashgrove Circle, Parker, CO 80134
            o Warren N. Eckloff, 6356 E. Tufts Ave., Cherry Hills Village, CO 80111
            o Eric Chester, 16713 W. 56th Drive, Golden, CO 80403
            o Spruce Avenue Limited Partnership, LLP, 143 W. Buena Vista Drive, Tempe,
               AZ 85284
            o Richard L VandenBergh M.D., P.C., Pension Plan, 7900 E Dartmouth Ave #62,
               Denver, CO 80231
            o Steve James Gavin, 3011 Lavinia Ave., Cincinnati, OH 45208
            o Harry R. & Catherine Simmonds, 6500 W. Mansfield Ave., #36, Denver, CO
               80235
            o Wegen Family Trust dated November 26, 2019, 13494 Via Varra, Broomfield,
               CO 80020
            o Jeffrey B. Martin Trust, 2766 S. Boston Ct., Denver, CO 80231


            Pinnacle at Ridgegate, LLC
            o Adam Nelson, 110 16th Street, Suite 901, Denver, CO 80202
            o Mauka Holdings, LLC, 2633 Anuenue Street, Honolulu, HI, 96822
            o Alon Binyamin Buch, 7 Kehilat Lodz St, Tel Aviv, Israel, 6970933
            o Barbara A Fatina TR FBO Barbara A Fatina Declaration of Trust UA
               Barbara, 23651 W Cotswald Drive, Plainfield, IL, 60585
            o Karen Stangeland Trust, 13195 Old Coast Rd. # 302, Naples, FL 34110
            o Pleasant Ridge, LLC, 4655 Pleasant Ridge Road, Boulder, CO 80301
            o Brian Vande Krol & Susan Courney Frasch, 6475 Coldwater Drive, Parker, CO
               80134
            o Bruce H. DeBoskey, 921 Spruce Street, Denver, CO 80230
            o Christopher Weesner, 10321 Cherokee Lane, Leawood, KS 66206
            o Dan Camenson, 832 Gregory Road, Fort Collins, CO 80524

                                              11
Case 1:20-cv-00484-LO-TCB Document 310-2 Filed 08/18/21 Page 13 of 20 PageID# 11046




            o Daniel F. O'Dea, 106 Palazza Alto, Austin, TX 78734
            o The Daniel J. McGann Living Trust dated 6-3-2014, 1000 Hideaway Ridge,
              Richmond, KY 40475
            o ADS2 Investing, LLC, 4407 Yorkshire Court, Shavano Park, TX 78249
            o David J Keller, 3873 Bellaire Circle, Fort Worth, TX 76109
            o Flesher-Salvin Investment LLC, PO Box 1377, Edwards, CO 81632
            o DR Investments LLC, PO Box 1377, Edwards, CO 81632
            o Dawn Marie Brennecke Trust, 2s317 Seneca Drive, Wheaton, IL 60189
            o Debbie M. Loeffler, 10031 Olympia, Houston, TX 77042
            o D and E Investments I, LLC, PO Box 101603, Nashville, TN 37224
            o Keller Ventures GP, LLC, 2045 Tabor Drive, Lakewood, CO 80215
            o Duane E. Hilmas & Barbara L. Hilmas JTWROS, PO Box 1112, Niwot, CO
              80544
            o FBO Charbel Chafic Nemer IRA, 2513 Ginger Wren Road, Pepper Pike, OH
              44124
            o FBO Chad R Hatlestad IRA, 2931 Franklin Street, Englewood, CO 80113
            o ANF Holdings, LLC, 2055 Shaw Lane, Orlando, FL 32814
            o Gerald Smith, 4131 Gordon Drive, Naples, FL 34102
            o Gregory Gray, 3381 Canopy, Dewitt, MI 48820
            o Steffe Family Trust, 7250 Brighton Place, Castle Pines, CO 80108
            o Irwin Jay Gomberg, 1124 Trevor Circle, Libertyville, IL 60048
            o Gain Line Capital, LLC, 4069 Lake Drive SE, Suite 310, Grand Rapids, MI 49546
            o James P Sandoz Jr., 9103 Alta Drive, Unit 205, Las Vegas, NV 89145
            o Jasen Takei, 1080 S. Beretania Street, Apt 803, Honolulu, HI 96814
            o Jiaye Shen, 7715 Kew Forest Lane, Forest Hills, NY 11375
            o Four Cousins LLLP, 13854 Ashgrove Circle, Parker, CO 80134
            o JJH Global Realty III, LLC, 1401 W. Stanford Avenue, Englewood, CO 80110
            o John S. Xenos, 1755 Brantfeather Grove, Colorado Springs, CO 80906
            o Atloz Investments LLC, c/o Larry Atler, 195 South Dahlia Street, Denver, CO
              80246
            o Lawrence R. Zeno, 61677 Crescent Circle, Sturgis, MI 49091
            o Alexander and Martha Huberts, 308 Corte Gabriel, Moraga, CA 94556
            o Ling Ma, 10203 E. Crestridge Lane, Englewood, CO 80111
            o Lisa Rezac, 10917 Walling Circle, Omaha, NE 68144
            o Lynn E. Reich, 150 Forest Avenue, Unit #1002, Oak Park, IL 60301
            o Mahavir S. Rana Living Trust, 414 Flossmoor Ct., The Villages, FL 32162
            o Marc Hungerford, 3 Hillsyde Court, Cockeysville, MD 21030
            o Mark I. Richardson, 2052 Granger Way, Lummi Island, WA 98262
            o Marvin Rogoff, 7000 E. Quincy Avenue #F218, Denver, CO 80237
            o Melvin K Roseman Revocable Trust Dated August 30, 2001, 438 Lakeside
              Manor Road, Highland Park, IL 60035
            o Melvin Shapiro, 1909 Deercrest Lane, Northbrook, IL 60062
            o Michael J Golden, 9155 E. Smoke Rise Drive, Tuscon, AZ 85715
            o Michael Kaufman Revocable Trust, 830 Greenleaf Avenue, Glencoe, IL 60022
            o FBO Michael Kaufman Midland Trust, PO Box 07520, Fort Myers, FL 33919
            o TJEC, LLC, 15688 Greenstone Circle, Parker, CO 80134


                                             12
Case 1:20-cv-00484-LO-TCB Document 310-2 Filed 08/18/21 Page 14 of 20 PageID# 11047




            o   Tora Properties LLC, 1866C East Market Street #333, Harrisonburg, VA 22801
            o   JM Capital VII, LLC, 100 S. University #9, Denver, CO 80209
            o   BW Investments, LLC, 40 W. Littleton Blvd, Suite 210-133, Littleton, CO 80120
            o   Patricia Cameron, 7705 E. Kenyon Avenue, Denver, CO 80237
            o   Capone Holdings LLC, 8176 Mandan Ter, Greenbelt, MD 20770
            o   The Sydell Living Trust u/a Dated October 14th, 2006, 50 De Ford Drive, San
                Rafael , CA 94903
            o   Rajendra K Nigam, 173 Sebago Lake Drive, Sewickley, PA 15143
            o   FBO Ric Harshman, 8152 Donatello Court, Littleton, CO 80125
            o   Richard Garigen, 13921 W. 85th Drive, Arvada, CO 80005
            o   K-2 Investments, LLC, #17 Regency Court, Scottsbluff, NE 69361
            o   SV Ridgegate, LLC, 13915 Old Coast Road #302, Naples, FL 34110
            o   Ronald Ho, 1658 S. Mary Avenue, Sunnyvale, CA 94087
            o   Shane Eric Veltri Revocable Trust, 5233 Skyline Drive, Ogden, UT 84115
            o   NA-CRE Investments Sohil & Pushpak, 210 Rosemont Dr., North Andover, MA
                01845
            o   Stephen Kregstein, 5401 E. Dakota Avenue #21, Denver, CO 89246
            o   Stephen M. Keller, 910 JC Street, Garden City, KS 67846
            o   Equity Trust Company Custodian FBO Steven Doerr IRA, 14133 Niklaus
                Drive, Overland Park, KS 66223
            o   Steven W. Smith, 4741 Humboldt Avenue South, Minneapolis, MN 55419
            o   Thomas Lozser, 47914 Beckenham Blvd., Novi, MI 48374
            o   Becker Family Trust Dated June 27, 2006, 1353 Calle Street, Encinitas, CA
                92024
            o   TD Angel Investments LLC, 14456 Canterbury Street, Leawood, KS 66224
            o   Todd and Chen Sykes, 5808 S. Dayton Street, Greenwood Village, CO 80111
            o   Middlefork Investments, 6660 E. Floyd Avenue, Denver, CO 80224
            o   C. Thomas Trotter Jr Revocable Trust Dated 11/4/94, Restated 3/6/13, 9216
                Viaggio Way, Highands Ranch, CO 80126
            o   Tony Albrecht, 6941 W 175th Avenue, Eden Prairie, MN 55346
            o   Vernon F Chalfant, 763 Tyler Drive, Sarasota, FL 34236
            o   American Estate & Trust LC FBO Wendy O Walker IRA, 6900 Westcliff
                Drive, Suite 603, Las Vegas, NV 89145
            o   William J Golden, 9155 E. Smoke Rise Drive, Tucson, AZ 85715
            o   Alexander G. Smith, 4131 Gordon Drive, Naples, FL 34102
            o   Heritage Oak Investment LLC, 5745 Hanifen Way, Pleasanton, CA 94566
            o   National Healthcare Development Inc., 2606 Pine Knoll View, Colorado
                Springs, CO 80929
            o   Leland Ross, LLC, 1550 N. Downing Street, Denver, CO 80218

            Mountain Vista
            o David J. Keller, 3873 Bellaire Circle, Fort Worth, TX 76109
            o R. John Kadlubar, Jr., 118 Harley Drive, Montgomery, TX 77356
            o Becker Family Trust Dated June 27, 2006, 1353 Calle Scott, Encinitas, CA
              92024
            o Christopher Monie, 2020 Wendover Lane, San Jose, CA 95121

                                              13
Case 1:20-cv-00484-LO-TCB Document 310-2 Filed 08/18/21 Page 15 of 20 PageID# 11048




            o   Goldstein Lipinski & Chen, 12164 Mojave Gold Rd Unit 2, Las Vegas, NV 89183
            o   Nathan Shaw, 1134 S. Dogwood Drive, Harrisonburg, VA 22801
            o   Robert Chapman, 2090 Old Airport Road, Nunnelly, TN 37137
            o   Simpson Family Trust, 17840 Via Gracia, San Diego, CA 92128
            o   Daniel F. O'Dea, 106 Palazza Alto, Austin, TX 78734
            o   Alan C. Abrams, 807 Kalli Creek Lane, St. Augustine, FL 33080
            o   Hannah Lee and Wong Chung, 23883 Grayhaven Place, Aldie, VA 20105
            o   Michael Mitchell, 8631 Old Bonhomme Road 3C, Saint Louis, MO 63132
            o   Clearwater Commons, LLC, 1304 W. Walnut Hill Lane, Suite 212, Irving, TX
                75038
            o   Donny Melton, 3457 Florence Way, Denver, CO 80238
            o   Michael Taylor, 3310 Lawrence Street, Houston, TX 77018
            o   Nicholas Shevelyov, 18485 Withey Rd, Monte Sereno, CA 95030
            o   Uta-Heide Hungerford Revocable Trust, 13304 Beaver Dam Road,
                Cockeysville, MD 21030
            o   Darrin Richard Witt Revocable Trust dated August 16, 2017, 1349 Wyndmere
                Hills Lane, Matthews, NC 28105
            o   Totallia Real Estate, LLC, 260 Crandon Blvd., Suite 32-64, Key Biscayne, FL
                33149
            o   Johannes Gruess, 848 N. Rainbow Blvd. #2230, Las Vegas, NV 89107
            o   Bao Tran, 3904 Kingsferry Court, Arlington, TX 76016
            o   Vijay Meduri, 20851 Michaels Drive, Saratoga, CA 95070
            o   Daniel Martineau, 8486 N. 84th Place, Scottsdale, AZ 85258
            o   Srinivasa Talla, 15 Oak Lane, Greenbrook, NJ 08812
            o   Christopher Weesner, 10321 Cherokee Lane, Leawood, KS 66206
            o   The Anne and Laurent Botella Living Trust, 341 Thistle Circle, Martinez, CA
                94553
            o   Ronald Ho, 1658 S Mary Ave, Sunnyvale, CA 94087
            o   Scott Hwang, 8995 Telluride Ct., Germantown, TN 38138
            o   CT Capital Investment LLC, 2337 E. Bonanza Road, Las Vegas, NV 89101
            o   Coppell Star Investment Properties LLC, 239 Sleepy Hollow Lane, Coppell, TX
                75019
            o   Guang Yin, 109 Arbor Ridge Drive, Warrington, PA 18976
            o   Wentao Li, 11 Sleepy Hollow Road, Edison, NJ 08820
            o   Daniel J McGann, 1000 Hideaway Ridge, Richmond, KY 40475
            o   Nicholas L. Miner PC 401(k) Plan, 7650 S. McClintock Drive #103-372, Tempe,
                AZ 85284
            o   Jungwoo Lee, 2884 E. Comstock Drive, Gilbert, AZ 85296
            o   Shane Eric Veltri Revocable Trust, 5233 Skyline Drive, Ogden, UT 84115
            o   Bradley Short, 421 Covington Place, Goleta, CA 93117
            o   Paul and Linda Chung, 12445 Robleda Road, Los Altos Hills, CA 94022
            o   Stephanie & John Cristiano, 2701 Whiffletree Road, Charlotte, NC 28210
            o   Vineet Sarda, 441 5th Avenue NE, Isaaquah, WA 98029
            o   Pleasant Ridge, LLC, 4655 Pleasant Ridge Road, Boulder, CO 80201
            o   Wilfred Yeung, 728 Brushwood Court, Somerset, NJ 08873



                                             14
Case 1:20-cv-00484-LO-TCB Document 310-2 Filed 08/18/21 Page 16 of 20 PageID# 11049




            o Paul J Ford Living Trust dated November 18, 2011, 5444 S. Emporia Court,
              Greenwood Village, CO 80111
            o James P. Sandoz Jr., 9103 Alta Drive, Unit 205, Las Vegas, NV 89145
            o The Golden Family Trust 01-07-05 Credit Shelter Trust, 9155 E. Smoke Rise
              Drive, Tucson, AZ 85715
            o Everstar, LLC, 2855 Countrywood Lane, West Covina, CA 91791
            o Richard Pederson, 180 Valley Lane, Boulder, CO 80302
            o Harry R Simmonds & Catherine W. Simmonds, 6500 W. Mansfield Avenue
              #36, Denver, CO 80235
            o Denis & Dawn Fourgeau-Ciers, 9560 Mariners Cove Lane, Fort Myers, FL 33919
            o Mark I Richardson, 2052 Granger Way, Lummi Island, WA 98262
            o Herb and Kathleen Steffe, 7250 Brighton Place, Castle Pines, CO 80108
            o Duane E Hilmas, PO Box 1112, Niwot, CO 80544
            o JJH Global Realty I, LLC, 1401 W. Stanford Avenue, Englewood, CO 80110
            o JT Davis, 2628 Highway 36 S, #325, Brenham, TX 77933
            o Equity Trust Company Custodian FBO: Jeffrey S. Alexander IRA, PO Box
              451340, Westlake, OH 44145
            o VMAsquare LLC, 4 Koch Lane, East Brunswick, NJ 08816
            o Pankaj Thakker, 3 Brookview Lane, North Yarmuth, ME 04097
            o MV Northstar LLC, 40 W. Littleton Blvd., Suite 210-133, Littleton, CO 80120




                                            15
Case 1:20-cv-00484-LO-TCB Document 310-2 Filed 08/18/21 Page 17 of 20 PageID# 11050




                                           VERIFICATION


                  I, Brian Watson, affirmatively state, under penalty of perjury, that I have reviewed

   DEFENDANTS’ SECOND SUPPLEMENTAL ANSWERS TO PLAINTIFFS’ FIRST SET

   OF INTERROGATORIES and, subject to stated objections, verify that the responses to the

   Interrogatories are true and correct to the best of my knowledge, information, and belief.

                  Dated 19th day of July, 2021.


                                                        ________________________________
                                                        Brian Watson

                                                        WDC HOLDINGS, LLC




                                           VERIFICATION



                                                   16
Case 1:20-cv-00484-LO-TCB Document 310-2 Filed 08/18/21 Page 18 of 20 PageID# 11051




                  I, Brian Watson, affirmatively state, under penalty of perjury, that I have reviewed

   DEFENDANTS’ SECOND SUPPLEMENTAL ANSWERS TO PLAINTIFFS’ FIRST SET

   OF INTERROGATORIES and, subject to stated objections, verify that the responses to the

   Interrogatories are true and correct to the best of my knowledge, information, and belief.

                  Dated 19th day of July, 2021.


                                                        ________________________________
                                                        Brian Watson




                                                   17
Case 1:20-cv-00484-LO-TCB Document 310-2 Filed 08/18/21 Page 19 of 20 PageID# 11052




    Dated: July 19, 2021                     By: s/ Stanley L. Garnett
                                             Stanley L. Garnett (pro hac vice)
                                             Brownstein Hyatt Farber Schreck, LLP
                                             Telephone: 303.223.1100
                                             Facsimile: 303.223.1111
                                             sgarnett@bhfs.com

                                             Gregory A. Brower (pro hac vice)
                                             Brownstein Hyatt Farber Schreck, LLP
                                             100 North City Parkway
                                             Las Vegas, Nevada 89106
                                             Telephone: 702.382.2101
                                             Facsimile: 702.382.8135
                                             gbrower@bhfs.com

                                             Jeffrey R. Hamlin (VA Bar No. 46932)
                                             George R. Calhoun (pro hac vice)
                                             James Trusty (pro hac vice)
                                             IFRAH PLLC
                                             1717 Pennsylvania Avenue NW
                                             Suite 650
                                             Washington, DC 20006
                                             Telephone: 202.524.4140
                                             Facsimile: 202 524.4141
                                             jhamlin@ifrahlaw.com
                                             geroge@ifrahlaw.com
                                             jtrusty@ifrahlaw.com

                                             Counsel for Defendants WDC Holdings,
                                             LLC and Brian Watson




                                        18
Case 1:20-cv-00484-LO-TCB Document 310-2 Filed 08/18/21 Page 20 of 20 PageID# 11053




                                    CERTIFICATE OF SERVICE

          I hereby certify that on July 19, 2021, I will email the foregoing document to the known
   attorney of record for each other party. For those parties for whom counsel is not known, a true
   and correct copy of the foregoing document shall be served by U.S. mail to their last known
   address.

    Elizabeth P. Papez                                   AllCore Development LLC
    Patrick F. Stokes                                    6870 W 52nd Avenue, Suite 203
    Claudia M. Barrett                                   Arvada, CO 80002
    Michael Robert Dziuban
    GIBSON, DUNN & CRUTCHER LLP                          Finbrit Holdings LLC
    1050 Connecticut Avenue, N.W.                        6870 W 52nd Avenue, Suite 203
    Washington, D.C. 20036-5306                          Arvada, Colorado 80002
    epapez@gibsondunn.com
    pstokes@gibsondunn.com                               Casey Kirschner
    cbarrett@gibsondunn.com                              635 Alvarado Ln N
    mdziuban@gibsondunn.com                              Plymouth, MN 55447
    Counsel for Plaintiffs Amazon.com, Inc.
    and Amazon Data Services, Inc.                       Jamie Hubbard
                                                         Stimson Stancil LaBranche Hubbard
    Villanova Trust                                      1652 Downing Street
    c/o Christian Kirschner, Trustee                     Denver, CO 80218
    3924 Wallace Lane                                    Counsel for Defendants White Peaks
    Nashville, TN 37215                                  Capital
                                                         LLC and NOVA WPC LLC


                                                By: _s/ Stanley L. Garnett_______________
                                                        Stanley L. Garnett




                                                  19
